 Case 19-12971-JKS           Doc 25     Filed 04/15/19 Entered 04/15/19 17:14:24               Desc Main
                                        Document     Page 1 of 1


UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY                           Case No: 19-12971
Caption in Compliance with D.N.J. LBR 9004-2 (c)
                                                 Chapter: 13
DAVIS LAW CENTER, LLC
Robert B. Davis, Esq. (NJ/001482005)             Judge: JKS
3 Main Street
Newark, New Jersey 07105
Tel.: (973) 315-7566
Attorney for Debtors
________________________________________________
In Re
JAMES POLITE & CINDY ROOKARD
                                    Debtors


         DEBTOR’S OPPOSITION TO CREDITOR’S OBJECTION TO CONFIRMATION

 Dear Hon. Judge Sherwood:

         As you are aware, this firm represents James Polite & Cindy Rookard (the “Debtors”) in this

 bankruptcy matter. To the extent that Secured Creditor Mr. Cooper hereinafter (the “Creditor”) request that

 Debtor’s Application for Loss Mitigation be denied, Debtors respond that under the based on the evidence

 submitted by Creditor Nationstar Bank, dba Mr. Cooper, there only appears to be two separate loan

 modification agreements

         1. October 1, 2012 agreement See Exhibit A

         2. July 2015 agreement See Exhibit B

         Debtors contend that since there is only proof of only 2 prior loan modifications, they should be

 eligible to apply for a third and final loan modification.

         Based on the reasons as stated above, Debtors pray that the Court denies Creditors Objection to

 Confirmation and Loss Mitigation.

                                                                  Respectfully submitted
                                                                  Davis Law Center LLC

                                                                  /s/Robert B. Davis
                                                                  Robert B. Davis, Esq.
                                                                  Attorney for Debtors
         Dated: April 15, 2019
